            Case 1:18-cv-11819-RA Document 48 Filed 10/19/20 Page 1 of 1
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                                                                    ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                        DOC#:
SOUTHERN DISTRICT OF NEW YORK                                       DATE FILED: 10/19/2020


 BRIAN COLEMAN

                              Plaintiff,

                         v.                                     No. 18-CV-11819 (RA)

 CITY OF NEW YORK, NYPD OFFICE                                          ORDER
 JOHANNY BEISSEL, OFFICERS JOHN
 AND JANE DOE #1-10

                              Defendants.


RONNIE ABRAMS, United States District Judge:

         Plaintiff Brian Coleman brought this action against Defendants seeking damages pursuant

to 42 U.S.C. §§ 1981, 1983, 1985, 1988, the United States Constitution, and the New York State

Constitution. On January 7, 2020, the Court granted the parties’ request to extend the time to

complete fact discovery by seven weeks, until April 30, 2020. On March 18, 2020, the Court

granted the parties’ subsequent request to stay this action until October 16, 2020 in light of the

COVID-19 pandemic. As of today’s date, the stay is lifted.

         No later than October 26, 2020, the parties shall submit a joint letter updating the Court

as to the status of the case and proposing next steps in this action.



SO ORDERED.

Dated:      October 19, 2020
            New York, New York

                                                   Ronnie Abrams
                                                   United States District Judge
